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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

ESENGUL MOMOL,

        Plaintiff,

v.                                      CASE NO.:

UNIVERSITY OF FLORIDA,

    Defendant.
____________________________________/

             COMPLAINT AND DEMAND FOR JURY TRIAL

        Plaintiff, ESENGUL MOMOL, by and through undersigned counsel,

brings this action against Defendant, UNIVERSITY OF FLORIDA, and in

support of her claims states as follows:

                      JURISDICTION AND VENUE

        1.    This is an action for violations of the Family and Medical

Leave Act of 1993, as amended, 29 U.S.C. § 2601 et seq. (“FMLA”), the

Americans with Disabilities Act of 1990, as amended (“ADA”), 42 U.S.C. §

12101 et seq., and the Florida Civil Rights Act of 1992, as amended

(“FCRA”), Fla. Stat. § 760.01 et seq.

        2.    This Court has subject matter jurisdiction under 28 U.S.C. §

1331, 29 U.S.C. § 2601 et seq., and 42 U.S.C. § 12101 et seq.
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      3.    Venue is proper in the Northern District of Florida, because all

of the events giving rise to these claims occurred in Alachua County,

Florida.

                                 PARTIES

      4.    Plaintiff is a resident of Alachua County, Florida, and she

worked in Alachua County for Defendant.

      5.    Defendant operates a public university in Alachua County,

Florida.

                       GENERAL ALLEGATIONS

      6.    This is an action to recover damages suffered by Plaintiff while

employed by Defendant when Defendant interfered with Plaintiff’s rights

under the FMLA, discriminated against Plaintiff based on her disability,

denied her a reasonable accommodation, and retaliated against Plaintiff for

attempting to exercise her rights under the FMLA, ADA, and FCRA.

      7.    At the time of these events, Plaintiff was an employee of

Defendant, and she worked at least 1250 hours in the 12 months preceding

her request for leave under the FMLA.

      8.    Thus, Plaintiff is an “eligible employee” within the meaning of

the FMLA, 29 U.S.C. § 2611(2).

      9.    Defendant is an “employer” within the meaning of the FMLA,

29 U.S.C. § 2611(4).


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        10.   At all times material hereto, Plaintiff was an “employee” of

Defendant within the meaning of the ADA and the FCRA.

        11.   At all times material hereto, Defendant employed fifteen (15)

or more employees. Thus, Defendant is an “employer” within the meaning

of the ADA and the FCRA.

        12.   Plaintiff has satisfied all conditions precedent, or they have

been waived.

        13.   Plaintiff has retained the undersigned attorneys and agreed to

pay them a fee.

        14.   Plaintiff requests a jury trial for all issues so triable.

                                     FACTS

        15.   Plaintiff began working for Defendant on or around June 23,

2008.

        16.   At all times relevant to the facts alleged in this Complaint,

Plaintiff suffered from a medical condition that qualified as a serious

health condition within the meaning of the FMLA.

        17.   During Plaintiff’s employment with Defendant, Plaintiff

suffered from a physical or mental condition that substantially limited his

ability to perform one or more major life activities. Plaintiff had a record of

such condition, and/or was regarded by Defendant as having a condition




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that substantially limited his ability to perform one or more major life

activities.

        18.   Specifically, Plaintiff suffered from severe anxiety, fatigue, and

heart palpitations.

        19.   Plaintiff continues to suffer from the aforementioned physical

or mental condition.

        20.   At all times material hereto, Plaintiff could perform the

essential functions of her job with Defendant with or without

accommodation.

        21.   Thus, Plaintiff was a “qualified individual with a disability”

within the meaning of the ADA and FCRA.

        22.   On or around February 28, 2023, Plaintiff submitted proper

medical documentation to Defendant in support of her FMLA leave request

to care for herself.

        23.   On or around February 28, 2023, Plaintiff engaged in

protected activity under the ADA and FCRA by requesting a reasonable

accommodation of a short and defined leave of absence until March 8.

2023.

        24.   Plaintiff provided Defendant with medical documentation to

support her request for a medical leave of absence.




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      25.    At first, Defendant approved Plaintiff’s request for this leave of

absence and Plaintiff began the leave.

      26.    On March 7, 2023, Plaintiff’s doctor briefly extended the leave

of absence until April 8, 2023.

      27.    Plaintiff could perform the essential functions of her job and

would have simply required this reasonable accommodation of an

additional brief extension of her medical leave of absence.

      28.    In or around early-mid March, 203, Plaintiff requested from

Defendant this reasonable accommodation of a leave of absence until April

8, 2023.

      29.    However, Defendant denied this request for a leave of absence

until April 8, 2023.

      30.    Further, Defendant entirely failed to engage in an interactive

process regarding a reasonable accommodation.

      31.    Instead, on or around March 17, 2023, Defendant terminated

Plaintiff’s employment, based on her disability and in retaliation for

Plaintiff engaging in protected activity under the ADA, FCRA, and FMLA.

      32.    Plaintiff exercised her rights under the FMLA by applying for

and attempting to utilize FMLA leave.

      33.    By terminating Plaintiff’s employment, Defendant violated

Plaintiff’s rights under the FMLA, as well as the ADA and FCRA.


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                    COUNT I – FMLA INTERFERENCE

      34.     Plaintiff realleges and readopts the allegations of paragraphs 6

through 9, 12 through 18, 22, 26, 28 through 29, and 31 through 33 of this

Complaint, as fully set forth herein.

      35.     Plaintiff required time off from work to care for herself,

because she suffered from a serious health condition within the meaning of

the FMLA, requiring leave protected under the FMLA.

      36.     By terminating Plaintiff’s employment, Defendant interfered

with Plaintiff’s FMLA rights, in violation of 29 U.S.C. §§ 2614(a)(1)(A) and

2615(a)(2).

      37.     Defendant’s actions were willful and done with malice.

      38.     Plaintiff was injured due to Defendant’s violations of the

FMLA, for which Plaintiff is entitled to legal and injunctive relief.

      WHEREFORE, Plaintiff demands:

              (a)   That this Court enter a judgment that Defendant

                    interfered with Plaintiff’s rights in violation of the

                    FMLA;

              (b)   An injunction restraining continued violation of the

                    FMLA by Defendant;

              (c)   Compensation for lost wages, benefits, and other

                    remuneration;


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             (d)   Reinstatement of Plaintiff to a position comparable to

                   Plaintiff’s prior position with back pay plus interest,

                   pension rights and all benefits, or, in the alternative, the

                   entry    of   a       judgment    under    29      U.S.C.   §

                   2617(a)(1)(A)(i)(II), against Defendant and in favor of

                   Plaintiff, for the monetary losses that Plaintiff suffered

                   as a direct result of Defendant’s violations of the FMLA;

             (e)   Front pay;

             (f)   Liquidated Damages;

             (g)   Prejudgment       interest   on   all   monetary    recovery

                   obtained;

             (h)   All costs and attorney’s fees incurred in prosecuting

                   these claims; and

             (i)   For such further relief as this Court deems just and

                   equitable.

                   COUNT II – FMLA RETALIATION

      39.    Plaintiff realleges and readopts the allegations set forth in

paragraphs 6 through 9, 12 through 18, 22, 26, 28 through 29, and 31

through 33 of this Complaint, as fully set forth herein.




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      40.    Plaintiff required time off from work to care for herself,

because she suffered from a serious health condition within the meaning

of the FMLA, requiring leave protected under the FMLA.

      41.    Plaintiff engaged in protected activity under the FMLA by

exercising and/or attempting to exercise her FMLA rights.

      42.    Defendant retaliated against Plaintiff for engaging in protected

activity under the FMLA by terminating Plaintiff’s employment.

      43.    Defendant’s actions were willful and done with malice.

      44.    Plaintiff was injured by Defendant’s violations of the FMLA,

for which Plaintiff is entitled to legal and injunctive relief.

      WHEREFORE, Plaintiff demands:

             (a)    That this Court enter a judgment that Defendant

                    retaliated against Plaintiff in violation of the FMLA;

             (b)    An injunction restraining continued violation of the

                    FMLA by Defendant ;

             (c)    Compensation for lost wages, benefits, and other

                    remuneration;

             (d)    Reinstatement of Plaintiff to a position comparable to

                    Plaintiff’s prior position with back pay plus interest,

                    pension rights and all benefits or, in the alternative,

                    entry    of    a       judgment   under       29   U.S.C.   §


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                    2617(a)(1)(A)(i)(II), against Defendant and in favor of

                    Plaintiff, for the monetary losses Plaintiff suffered as a

                    direct result of Defendant’s violations of the FMLA;

             (e)    Front pay;

             (f)    Liquidated Damages;

             (g)    Prejudgment     interest   on    all    monetary   recovery

                    obtained;

             (h)    All costs and attorney’s fees incurred in prosecuting

                    these claims; and

             (i)    For such further relief as this Court deems just and

                    equitable.

                     COUNT III – ADA VIOLATION
                   (DISABILITY DISCRIMINATION)

      45.    Plaintiff realleges and readopts the allegations of paragraphs

6, 10 through 15, 17 through 21, 23 through 31, and 33 of this Complaint, as

though fully set forth herein.

      46.    Plaintiff is a member of a protected class under the ADA.

      47.    Plaintiff was subjected to disparate treatment by Defendant on

the basis of his disability, and/or perceived disability.

      48.    Specifically, Defendant failed or refused to engage in an

interactive discussion about accommodations, subsequently denied



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Plaintiff a reasonable accommodation that would have permitted her to

perform all of the essential functions of her job with Defendant, and then

terminated Plaintiff’ employment.

      49.    Defendant’s actions were willful and done with malice.

      50.    Plaintiff was injured due to Defendant’s violations of the ADA,

for which Plaintiff is entitled to legal and injunctive relief.

      WHEREFORE, Plaintiff demands:

             (a)    A jury trial on all issues so triable;

             (b)    That process issue and that this Court take jurisdiction

                    over the case;

             (c)    That this Court enter an injunction restraining

                    continued violation of the ADA;

             (d)    Compensation for lost wages, including back pay with

                    interest, benefits, and other remuneration for violation

                    of the Plaintiff’s civil rights;

             (e)    Reinstatement of Plaintiff to a position comparable to

                    his prior position, or in the alternative, front pay;

             (f)    Reinstatement of Plaintiff’s full fringe benefits and

                    seniority rights;

             (g)    Any other compensatory damages, including emotional

                    distress, allowable at law;


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              (h)   Punitive damages;

              (i)   Prejudgment      interest   on    all   monetary   recovery

                    obtained.

              (j)   All costs and attorney’s fees incurred in prosecuting

                    these claims; and

              (k)   For such further relief as this Court deems just and

                    equitable.

                    COUNT IV—ADA VIOLATION
            (DENIAL OF REASONABLE ACCOMMODATION)

      51.     Plaintiff realleges and readopts the allegations of paragraphs

6, 10 through 15, 17 through 21, 23 through 31, and 33 of this Complaint, as

though fully set forth herein.

      52.     Plaintiff is disabled, or was perceived by Defendant as being

disabled.

      53.     Specifically, Defendant failed or refused to engage in an

interactive discussion about accommodations and subsequently denied

Plaintiff a reasonable accommodation that would have permitted her to

perform all of the essential functions of her job with Defendant.

      54.     Defendant’s actions were willful and done with malice.

      55.     Plaintiff was injured due to Defendant’s violations of the ADA,

for which Plaintiff is entitled to legal and injunctive relief.



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   WHEREFORE Plaintiff demands:

         (a)   A jury trial on all issues so triable;

         (b)   That process issues and that this Court take jurisdiction

               over the case;

         (c)   An injunction restraining continued violation of          law

               enumerated herein;

         (d)   Compensation for lost wages, benefits, and other

               remuneration;

         (e)   Reinstatement of Plaintiff to a position comparable to

               Plaintiff’s prior position, or in the alternative, front pay;

         (f)   Compensatory damages, including emotional distress,

               allowable at law;

         (g)   Punitive damages;

         (h)   Prejudgment      interest   on    all    monetary   recovery

               obtained;

         (i)   All costs and attorney’s fees incurred in prosecuting

               these claims; and

         (j)   For such further relief as this Court deems just and

               equitable.




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                    COUNT V – ADA RETALIATION

      56.    Plaintiff realleges and readopts the allegations of paragraphs

6, 10 through 15, 17 through 21, 23 through 31, and 33 of this Complaint, as

though fully set forth herein.

      57.    As a qualified individual with a disability whom Defendant

knew or perceived to be disabled, Plaintiff is a member of a protected class

under the ADA.

      58.    Plaintiff engaged in protected activity under the ADA by

requesting a reasonable accommodation.

      59.    Plaintiff engaged in protected activity under the ADA by

objecting to Defendant’s denial of Plaintiff’s reasonable accommodation

request.

      60.    Defendant retaliated against Plaintiff for engaging in protected

activity under the ADA by terminating Plaintiff's employment.

      61.    Defendant’s actions were willful and done with malice.

      62.    The adverse employment action that Defendant took against

Plaintiff was material.

      63.    Plaintiff was injured due to Defendant’s violations of the ADA,

for which she is entitled to legal and injunctive relief.

      WHEREFORE, Plaintiff demands:


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         (a)   A jury trial on all issues so triable;

         (b)   That process issue and that this Court take jurisdiction

               over the case;

         (c)   That this Court enter a declaratory judgment against

               Defendant, stating that Defendant interfered with

               Plaintiff’s rights under the ADA;

         (d)   That this Court enter an injunction restraining

               continued violation of the ADA;

         (e)   Compensation for lost wages, including back pay with

               interest, benefits, and other remuneration for violation

               of the Plaintiff’s civil rights;

         (f)   Reinstatement of Plaintiff to a position comparable to

               his prior position, or in the alternative, front pay;

         (g)   Reinstatement of Plaintiff’s full fringe benefits and

               seniority rights;

         (h)   Any other compensatory damages, including emotional

               distress, allowable at law;

         (i)   Punitive damages;

         (j)   Prejudgment       interest    on   all   monetary   recovery

               obtained.




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            (k)    All costs and attorney’s fees incurred in prosecuting

                   these claims; and

            (l)    For such further relief as this Court deems just and

                   equitable.

                      COUNT VI – FCRA VIOLATION
                     (DISABILITY DISCRIMINATION)

      64.    Plaintiff realleges and readopts the allegations of paragraphs

6, 10 through 15, 17 through 21, 23 through 31, and 33 of this Complaint,

as though fully set forth herein.

      65.    Plaintiff is a member of a protected class under the FCRA.

      66.    Plaintiff was subjected to disparate treatment on the basis of

handicap, disability, and/or perceived handicap/disability.

      67.   Specifically, Defendant failed or refused to engage in an

interactive discussion about accommodations, subsequently denied

Plaintiff a reasonable accommodation that would have permitted her to

perform all of the essential functions of her job with Defendant, and then

terminated Plaintiff’ employment.

      68.    Defendant’s actions were willful and done with malice.

      69.    Plaintiff was injured due to Defendant’s violations of the

FCRA, for which Plaintiff is entitled to legal and injunctive relief.

      WHEREFORE, Plaintiff demands:



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             (a) A jury trial on all issues so triable;

             (b) That process issue and that this Court take jurisdiction over

                the case;

             (c) Compensation for lost wages, including back pay with

                interest, benefits, and other remuneration;

             (d) Reinstatement of Plaintiff to a position comparable to her

                prior position, or in the alternative, front pay;

             (e) Any other compensatory damages, including emotional

                distress, allowable at law;

             (f) Punitive damages;

             (g) Prejudgment interest on all monetary recovery obtained.

             (h) All costs and attorney’s fees incurred in prosecuting these

                claims; and

             (i) For such further relief as this Court deems just and

                equitable.

                COUNT VII—FCRA VIOLATION
         (DENIAL OF REASONABLE ACCOMMODATION)

      70.    Plaintiff realleges and readopts the allegations of paragraphs

6, 10 through 15, 17 through 21, 23 through 31, and 33 of this Complaint, as

though fully set forth herein.




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      71.    Plaintiff has a handicap or was perceived by Defendant as

having a handicap.

      72.    Specifically, Defendant failed or refused to engage in an

interactive discussion about accommodations and subsequently denied

Plaintiff a reasonable accommodation that would have permitted her to

perform all of the essential functions of her job with Defendant.

      73.    Defendant’s actions were willful and done with malice.

      74.    Plaintiff was injured due to Defendant’s violations of the

FCRA, for which Plaintiff is entitled to legal and injunctive relief.

      WHEREFORE Plaintiff demands:

             (a) A jury trial on all issues so triable;

             (b) That process issue and that this Court take jurisdiction over

                the case;

             (c) Compensation for lost wages, including back pay with

                interest, benefits, and other remuneration;

             (d) Reinstatement of Plaintiff to a position comparable to her

                prior position, or in the alternative, front pay;

             (e) Any other compensatory damages, including emotional

                distress, allowable at law;

             (f) Punitive damages;

             (g) Prejudgment interest on all monetary recovery obtained.


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             (h) All costs and attorney’s fees incurred in prosecuting these

                claims; and

             (i) For such further relief as this Court deems just and
                 equitable.

                 COUNT VIII – FCRA RETALIATION

      75.    Plaintiff realleges and readopts the allegations paragraphs 6,

10 through 15, 17 through 21, 23 through 31, and 33 of this Complaint, as

though fully set forth herein.

       76.   Plaintiff is a member of a protected class under the FCRA.

       77.   Plaintiff engaged in protected activity under the FCRA by

requesting an accommodation.

      78.    Plaintiff engaged in protected activity under the ADA by

objecting to Defendant’s denial of Plaintiff’s reasonable accommodation

request.

       79.   Defendant retaliated against Plaintiff for engaging in protected

activity under the FCRA.

       80. Specifically, Defendant failed or refused to engage in an

interactive discussion regarding accommodations, denied Plaintiff a

reasonable accommodation and, subsequently, terminated Plaintiff’s

employment with Defendant.

       81.   Defendant’s actions were willful and done with malice.



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       82.   Defendant took material adverse action against Plaintiff.

       83.   Plaintiff was injured by Defendant’s violations of the FCRA,

for which Plaintiff is entitled to legal and injunctive relief.

      WHEREFORE, Plaintiff demands:

             (a) A jury trial on all issues so triable;

             (b) That process issue and that this Court take jurisdiction over

                 the case;

             (c) Compensation for lost wages, including back pay with

                 interest, benefits, and other remuneration;

             (d) Reinstatement of Plaintiff to a position comparable to her

                 prior position, or in the alternative, front pay;

             (e) Any other compensatory damages, including emotional

                 distress, allowable at law;

             (f) Punitive damages;

             (g) Prejudgment interest on all monetary recovery obtained.

             (h) All costs and attorney’s fees incurred in prosecuting these

                 claims; and

             (i) For such further relief as this Court deems just and

                 equitable.

                          JURY TRIAL DEMAND

      Plaintiff demands trial by jury as to all issues so triable.


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   Dated this 1st day of August, 2024.

                                   Respectfully submitted,

                                   /s/Brandon J. Hill
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                                   HANNAH E. DEBELLA
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